                                 EXHIBIT 1



                                      TO



                        VERIFIED COMPLAINT IN REM




                     DECLARATION OF KEVIN H. BURRELL




Case 3:24-cv-00222     Document 1-1   Filed 02/28/24   Page 1 of 6 PageID #: 5
                          DECLARATION OF KEVIN H. BURRELL
                              IN SUPPORT OF COMPLAINT

        I, Kevin H. Burrell, provide the following information under the penalty of perjury, as

provided by 28 U.S.C. § 1746, and declare that the following is true and correct to the best of my

knowledge, information and belief.

A.      Declarant’s Background

        1.     I am a Special Agent with the Drug Enforcement Administration (DEA) and have

been so employed since July 2012. I am currently assigned to the Nashville District Office, Task

Force Group 1. During my tenure as a DEA Special Agent, I have been involved in numerous

narcotics and drug-related investigations involving violations of international, federal, and state

narcotics laws. I have written, executed, and/or assisted in the execution of various state and federal

search warrants for narcotics and dangerous drugs, for records and documents related to trafficking

in controlled substances, communication devices, and for proceeds derived from these illegal

enterprises. I am also familiar with, and have testified regarding, the techniques employed by drug

dealers to conceal their assets and the way they keep records of such assets. I have received

extensive training in the means and methods used by narcotics traffickers and the financial aspects

of the illegal narcotics business. The federal crimes I am assigned to investigate include, but are

not limited to, violations of 21 U.S.C. §§ 841 and 846 and 18 U.S.C. §§ 1956 and 1957.

B.      Items Sought for Forfeiture

        2.     Pursuant to 21 U.S.C. § 881(a)(6), the United States seeks the forfeiture of

$344,226 United States currency (“Defendant Property”) seized during a traffic stop at I-65, Mile

Marker 94 in Nashville, Tennessee on November 28, 2023.




                                                  2

     Case 3:24-cv-00222       Document 1-1         Filed 02/28/24      Page 2 of 6 PageID #: 6
C.      Basis of Information

        3.     The information in this Declaration was obtained through my personal

observations, intelligence and information provided by partners at the Department of Homeland

Security Investigations (HSI), information and conversations with partners at the Rutherford

County Sherriff’s Office (RCSO), my training and experience, information gathered during

interviews of and conversations with civilians and other law enforcement officers, and written

reports and investigations conducted by other law enforcement officers. I have not included all

information known to me concerning the Defendant Property and the facts surrounding the

investigation discussed in Declaration. Rather, I have included facts relevant to a determination

that the Defendant Property is subject to forfeiture.

D.      Background Facts

               WANG travels from Atlanta to meet MINTER

        4.     On November 28, 2023, the Nashville District Office (DO) Task Force Group 1

and the RCSO received intelligence from the HSI Chattanooga that a drug courier, originating in

Atlanta, Georgia, was transporting narcotics to Nashville, Tennessee. The intelligence provided

that the courier would be driving a white cargo van traveling west from the Chattanooga area on

the I-24 interstate highway.

        5.     Nashville DO and RCSO subsequently located and began surveillance on the

courier's white cargo van bearing GA License Plate TFV0849 (White Van) in the Middle District

of Tennessee traveling west on I-24 toward Nashville.

        6.     The White Van was observed stopping at a residence in Antioch, Tennessee, known

to members of the Nashville DO as the residence of Joseph Edward Minter III (MINTER).




                                                  3

     Case 3:24-cv-00222        Document 1-1       Filed 02/28/24   Page 3 of 6 PageID #: 7
MINTER is a prior DEA Task Force Group 1 (TFG1) target, previously arrested in a drug

conspiracy.

       7.     During the White Van’s stop at the Antioch residence, investigators observed the

courier, subsequently identified as Jie Wang (WANG), removing boxes from the White Van and

dropping them at MINTER’s Antioch residence.

       8.     During surveillance, investigators observed MINTER give WANG a light-colored

pillowcase that appeared to be heavy. WANG could be seen putting the pillowcase in the White

Van. WANG departed the meeting in the White Van.

       9.     Based upon my training and experience and intelligence provided by HSI, the

meeting between WANG and MINTER was a classic drop transaction whereby a courier delivers

narcotics in exchange for payment.

              White Van Traffic Stop

       10.    Following WANG’s departure from the meeting with MINTER, Nashville DO

Task Force members conducted a traffic stop of the White Van heading North on I-65, near Mile

Marker 94 in Nashville, Tennessee.

       11.    Task Force Officer (TFO) Gregory made contact with the White Van’s driver,

WANG. There were no other occupants of the White Van. While speaking with WANG, TFO

Gregory could smell an obvious and pronounced smell of raw marijuana. Based upon my training

and experience, large amounts of raw marijuana produce a noticeable smell.

       12.    TFO Gregory asked WANG where he was traveling. WANG stated "Kentucky".

TFO Gregory asked WANG to step to the rear of the van.

       13.    TFO Gregory asked Wang what he was transporting in the White Van. WANG

stated he does not understand English. WANG was read his Miranda rights.



                                              4

   Case 3:24-cv-00222       Document 1-1       Filed 02/28/24    Page 4 of 6 PageID #: 8
       14.     TFO Gregory conducted an exterior dog sniff of the White Van using his K-9

"Wiley". Wiley gave a positive alert to on the passenger side cargo door.

       15.     TFO Gregory advised WANG that officers were going to search the White Van.

       16.     During the search of the driver's side cab of the Van, investigators observed a large

black duffle bag in between the drivers and passenger’s seat of the Van.

       17.     TFO Gregory unzipped the black duffle bag and observed a light-colored

pillowcase matching what agents observed to the pillowcase given to WANG by MINTER. The

pillowcase contained a large, vacuumed sealed bag of U.S. Currency and a blue Tennessee State

University cloth bag that contained a large amount of vacuumed sealed U.S. Currency. Based upon

my training and experience, vacuum sealed currency indicates drug-related cash. Knowing that

cash will carry the scent of narcotics, drug traffickers, their couriers and money mules often

vacuum seal currency in an effort to avoid dog detection.

       18.     WANG stated he did not know what was in the black duffle bag. WANG stated that

the U.S. Currency found in the black duffle bag was not his.

       19.     A search of the cargo area of the White Van revealed seven large cardboard boxes.

These boxes contained a total of 156 pounds of marijuana. Based upon my training and experience,

this amount of marijuana is consistent with largescale drug trafficking.

               MINTER Traffick Stop

       20.     Continued surveillance by TFO’s at MINTER’s residence revealed MINTER

loading the boxes he had received from WANG into a Chevrolet Silverado truck and departing the

residence.




                                                 5

   Case 3:24-cv-00222        Document 1-1        Filed 02/28/24      Page 5 of 6 PageID #: 9
Case 3:24-cv-00222   Document 1-1   Filed 02/28/24   Page 6 of 6 PageID #: 10
